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PROB 120

(7193)
United States District Court
for
District of New Jersey
Petition for Warrant for Offender Under Supervision
Name of Offender: Robert Seibert Cr: 99-6] 7-05, 00-522-01.01-36-01

Name of Sentencing Judicial Officer: Honorable John C. Lifland, Senior U.S. District Judge
Date of Original Sentence: 05/20/02
Original Offense: Frand by Wire (2 counts), Conspiracy te Commit Securities Fraud

Original Sentence: 33 months prison on each count to be served concurrently, 3 vears supervised release on
each count to be served concurrently

Type of Supervision: Supervised release Date Supervision Commenced: 01/07/05

Assistant U.S. Attorney: James McMahon Defense Attorney: Terrence Buckley, Esq.

PETITIONING THE COURT

[X] ‘To issue a warrant
[ ] To issue a summons

The probation officer believes that the offender has violated the following conditions of supervision:

Violation Number Nature of Noncompliance

I, The offender has violated the supervision condition which states ‘You shall not
commit another federal, state, or local crime.” From October 2005 through
October 2006, Seibert committed the acts of Grand Theft and Unauthorized Sale
of Securities, criminal conduct in violation of California law.

2. The offender has violated the supervision condition which states ‘You shall
submit a truthful and complete written report within the first five days of
each month.’ Seibert falsified written supervision reports for October 2005.
December 2005, June 2006, and August 2006. He failed to truthfully report
income he received during thase months.

3. The offender has violated the supervision condition which states ‘The defendant
shall provide the U.S. Probation Office with full disclosure of his financial
records to include yearly income tax returns upon the request of the U.S.
Probation Office. The defendant shail cooperate with the probation officer
in the investigation of his financial dealings and shall provide truthful
monthly statements of his income.’ Seibert failed to provide a Persona!
Financial Statement to the Probation Office by February 9, 2007 as instructed on
January 26, 2007 and on August 1, 2007, as he was instructed on June 26, 2007.

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Robert Seibert

4, The offender has violated the supervision condition which states ‘The defendant
is to refrain from employment as an investment broker.’ As part of his
criminal conduct for Grand Theft and Unauthorized Sale of Securities in 2005
and 2006, Seibert offered the victim a security according to the California
Department of Corporations.

I declare under penalty of perjury that the foregoing is true and correct.

Goro Lo

Thomas Stone
Senior U.S. Probation Officer /
Intensive Supervision Specialist

Date: 12/7/07

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THE COURT ORDERS:

The Issuance of a Summens. Date of Hearing:
1 7 No Action
i } Other

4 The Issuance of a Warrant
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Date

